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                               UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                    LOUISVILLE DIVISION
                            CIVIL ACTION NO. 3:16-CV-815-JRW-CHL


 AVREN LAMONT SCOTT,                                                                    Plaintiff,

 v.

 MIKE HAUN, et al.,                                                                  Defendants.

                        SETTLEMENT CONFERENCE REPORT & ORDER

            On July 14, 2020, the undersigned conducted a settlement conference in the above matter

 with the following appearances:

            FOR PLAINTIFF:                Avren Lamont Scott

            FOR DEFENDANTS:               Dr. Frederick Kemen; Michael M. Haun; Ben Rice;
                                          Jennifer “Kim” Campbell; William E. Sharp, counsel

            Settlement negotiations were conducted in good faith, and the Parties reached an agreement

 for the resolution of all claims.



            Accordingly,

            IT IS HEREBY ORDERED that on or before August 13, 2020, the Parties shall file a

 stipulation of dismissal with prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).




 cc: Counsel of record
        July 15, 2020
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